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                                   STATEMENT OF FACTS

        Your affiant, Michael Worrick is a Special Agent assigned to the Federal Bureau of
Investigation’s (FBI) Columbia Field Office. Currently, in addition to my regular duties, I am a
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Subsequent to the incident at the U.S. Capitol, the FBI began publishing wanted posters on
their website: https://www.fbi.gov/wanted/capitol-violence, which showed individuals inside of
the U.S. Capitol. The posters were numbered and given the title “Photograph” followed by a
number starting with number 1 (i.e. Photograph 1). One of the wanted posters—Photograph 19—
which is illustrated below as Figure One depicted three individuals.

       The individual to the left of the photograph in a red “Keep America Great” hooded
sweatshirt, blue jeans, and dark colored combat-style boots was identified as Grayson Sherrill
(SHERRILL) and arrested on March 1, 2020. See 21-mj-255.

        The individual in the middle of the photograph is wearing a plaid bandana face covering,
red baseball cap, red and black plaid long sleeved shirt, a dark colored watch on his left wrist, and
a dark colored backpack with lighter colored panels. He appears to be a white male with dark hair.
The individual on the right of the photograph is wearing a dark red hooded sweatshirt, a red
baseball hat, dark colored gloves, a red face covering, brown military style boots, and is holding a
long cylindrical object in his right hand.




                                                Figure One

        Witness One (W1) submitted a tip to the FBI identifying the middle subject in Figure One
(Photograph 19) as Elliot Bishai (BISHAI) and the subject to the right of the Photograph as Elias
Irizarry (IRIZARRY). W1 is familiar with BISHAI and IRIZARRY as cadets in a Civil Air Patrol
Unit that W1 is associated with. W1 was aware that other cadets had recognized them as well. W1
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stated that their respective demeanors, way they are standing, and physical characteristics made
them easily identifiable as BISHAI and IRIZARRY. Furthermore, W1 noted that IRIZARRY often
wears his boots in the distinctive style seen in the photograph.

        Witness Two (W2) and Witness Three (W3), also recognized BISHAI and IRIZARRY
through their association with the Civil Air Patrol Unit. W2 specifically stated that he/she was
familiar with BISHAI’s backpack, red plaid shirt, and bandana and had seen BISHAI wear them
previously. W2 also saw that BISHAI and IRIZARRY’s location on the social media application
Snapchat was in Washington, D.C. on January 6, 2021.

       In addition to the photographs, W2 and W3 saw footage from The New Yorker and
recognized BISHAI and IRIZARRY in the footage. W2 and W3 recognized them in the video
making entry into the U.S. Capitol building through a broken window.




                                               Figure Two

        Figure 2 is a still shot taken from footage posted by The New Yorker. It is taken from the
exterior of the building looking through a broken window into the Capitol building. In the right of
the photograph is a subject wearing a dark red hooded sweatshirt and a red baseball hat. W1 and
W3 identified this as IRIZARRY.
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                             Figure Three




                             Figure Four
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       Figures Three and Four are a screen shots taken from the same video. Rioters are seen
climbing though a broken window into the U.S. Capitol. In Figure Three, in the lower left of the
frame, BISHAI is seen wearing a brown winter hat and holding a cell phone. He is also seen
wearing a dark colored watch on the left wrist. W1 and W3 identified this individual as BISHAI.
IRIZARRY appears to be standing directly two his right wearing a red bandana over his hat. In
Figure Four, BISHAI’s brown winter hat and plaid shirt can be seen to the left of the frame and
IRIZARRY’s red bandana pulled over his hat is visible to the right of BISHAI.




                                               Figure Five

       Figure Five is a screen shot taken from a video posted on the website of The New Yorker.
The video footage was taken from inside the Capitol building. Within the red circle, IRIZARRY
can be seen wearing a red hat with a red bandana pulled over it. BISHAI can be seen behind him
with the same brown winter hat.

         Your affiant was able to review other images showing individuals who appear to be
BISHAI and IRIZARRY. In Figure Six, an individual who appears to be BISHAI can be seen in
the right of the frame taking a photograph of SHERRILL in front of the Dwight D. Eisenhower
statue. The individual who appears to be BISHAI is seen wearing the same red and black flannel
shirt, red baseball hat, dark colored back pack and dark watch on his left wrist. He has pulled his
bandana down and his face is more clearly visible.
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                                                       Figure Six

       The statue in Figure Six has been identified by U.S. Capitol Police as a statue of Dwight
D. Eisenhower, which is located inside of the Rotunda of the U.S. Capitol Building. This
information was also confirmed on the U.S. Capitol’s website, which lists all of the statues inside
of the U.S. Capitol with a photograph of the statue and the statue’s location within the U.S.
Capitol. 1

       Your affiant has also reviewed and collected video provided by the U.S. Capitol Police,
which includes security camera footage inside and outside of the U.S. Capitol building. While
reviewing this footage, your affiant observed individuals who appear to BISHAI and IRIZARRY
outside and inside of the U.S. Capitol. The following images are a sampling of screenshots
obtained from that footage.

        Figures Seven and Eight are still shots taken from security camera footage of the interior
of the U.S. Capitol building. These still show rioters entering the U.S. Capitol through the door
and broken window.

        In Figure Seven, an individual who appears to be IRIZARRY can be seen coming in
through a broken window (circled in red). The clothing is consistent with that of clothes worn by
IRIZARRY in the photos above. An individual who appears to be BISHAI can be seen circled in
blue in the brown hat and dark jacket.




1
    https://www.aoc.gov/explore-capitol-campus/art/dwight-d-eisenhower
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                                              Figure Seven

        Figure Eight is another still shot taken from security camera footage of the Senate Wing
door area of the interior of the Capitol building. Individuals who appear to be BISHAI (circled in
blue) and IRIZARRY (circled in red) can be seen standing inside the U.S. Capitol building.
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                                            Figure Eight

               In Figure Nine, BISHAI, IRIZARRY, and SHERRILL can be seen near the
Rotunda. BISHAI and IRIZARRY’s faces are visible and their clothing is consistent with what is
depicted in the previous photographs. As in Figure One and Figure Six BISHAI has taken off the
dark outer jacket and his red plaid shirt is visible.
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                             Figure Nine
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                                              Figure Ten

        Figure Ten was taken on the grounds of the U.S. Capitol, just outside the building on
January 6, 2021. IRIZARRY’s face is clearly visible looking down over a wall wearing the same
dark red sweatshirt, a red baseball hat, a red bandana around his head and chin and dark colored
gloves. Irizarry is also holding a metal pipe as in Figure One.

        Your affiant has reviewed photograph’s from IRIZARRY’s social media as well as
information from the South Carolina Department of Motor Vehicles. The still photograph shown
in Figure Six is consistent with IRIZARRY’s social media pictures as well as his South Carolina
driver’s license photograph.
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        Your affiant has reviewed photographs from BISHAI’s social media as well as information
from the South Carolina Department of Motor Vehicles. The still photograph shown in Figure
Four is consistent with BISHAI’s social media pictures as well as his South Carolina driver’s
license photograph.

       On January 28, 2021, FBI Special Agents interviewed Witness Four (W4) who is a family
member of BISHAI. W4 confirmed that BISHAI was at the Capitol on January 6, 2021, and that
he entered the building and took selfies.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Elliot BISHAI and Elias IRIZARRY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that BISHAI violated 40 U.S.C.
§ 5104(e)(2)(D) and (G),which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                   _________________________________
                                                   MICHAEL WORRICK
                                                   FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15 day of March 2021.


                                                  ___________________________________
                                                  ROBIN M. MERIWEATHER
                                                  U.S. MAGISTRATE JUDGE
